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  11               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  12                                WESTERN DIVISION
  13
  14
  15   ALEJANDRO RODRIGUEZ, et al.,             ) Case No. CV 07- 3239-TJH (RNBx)
                                                )
  16                Petitioners,                ) PETITIONERS’ MEMORANDUM
                                                ) OF POINTS AND AUTHORITIES
  17         vs.                                ) IN SUPPORT OF MOTION FOR
                                                ) PRELIMINARY INJUNCTION
  18                                            )
       TIMOTHY ROBBINS, et al.,                 ) REDACTED
  19                                            )
                   Respondents.                 ) Honorable Terry J. Hatter, Jr.
  20                                            )
                                                ) Hearing Date: August 13, 2012
  21                                            )
                                                  Hearing Time: UNDER SUBMISSION
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   1   I.    INTRODUCTION
   2         Petitioners hereby move for a preliminary injunction requiring the
   3   government to provide rigorous bond hearings to subclass members detained
   4   pursuant to 8 U.S.C. §§ 1226(c) and 1225(b) (the “PI Subclasses”). Members of
   5   the PI Subclasses have never had the necessity of their detention assessed by an
   6   Immigration Judge, even though the government has detained all of them for at
   7   least six months, and many for far longer. The Ninth Circuit has held that the
   8   immigration statutes cannot be construed to authorize detention for more than six
   9   months without providing a bond hearing before an Immigration Judge with
  10   authority to grant release unless the government shows, by clear and convincing
  11   evidence, that continued detention is justified. See Diouf v. Napolitano, 634 F.3d
  12   1081, 1086 (9th Cir. 2011). Despite this, the government continues to misconstrue
  13   Sections 1226(c) and 1225(b) to authorize detention of the PI Subclasses members
  14   beyond six months without providing bond hearings of any kind. The Court
  15   should grant this motion and put a stop to a shameful practice that deprives
  16   individuals of fundamental rights protected by the Constitution. The harm to the
  17   class members is clear, and the law overwhelmingly supports their position. 1
  18   II.   LEGAL BACKGROUND
  19         This motion concerns individuals detained under two different legal regimes
  20
       1
         The PI Subclasses contain the only class members who continue to be subject to
  21
       prolonged detention without bond hearings of any kind: class members detained
  22   under Section 1226(a) are eligible for release on bond pursuant to existing
       regulations, while class members detained under Section 1231 are now eligible for
  23
       release on bond pursuant to the recent Diouf decision. After additional discovery,
  24   Petitioners will move for complete relief on behalf of all class members, including
       greater procedural protections at bond hearings for those who already receive
  25
       them. But given the difficulties in obtaining discovery from Respondents, the
  26   irreparable harm presently occurring, and the settled precedent now clearly
       requiring rigorous bond hearings after six months for persons detained under 8
  27
       U.S.C. §§ 1226(c) and 1225, Petitioners cannot continue to wait to secure basic
  28   protections for the PI Subclass members.


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   1   that, in the government’s view, do not permit an Immigration Judge to hold a
   2   rigorous bond hearing, or indeed a bond hearing of any kind, to determine whether
   3   further detention is warranted.2
   4         The first legal regime applies to members of the Section 1226(c) subclass,
   5   which forms roughly half of the class as a whole, see Dkt. 101, Ex.26 [Stark Decl.
   6   ¶ 15]. A detainee becomes subject to Section 1226(c) if ICE officials believe he
   7   has been convicted of any one of a broad range of crimes, including simple drug
   8   possession offenses and certain misdemeanors, as well as more serious crimes. As
   9   matters stand, the government provides these individuals with no avenue to
  10   challenge whether their detention is justified based on lack of danger to the
  11   community or flight risk, regardless of its length. Respondents detained Petitioner
  12   Jose Farias Cornejo – a member of the Section 1226(c) Subclass – for more than
  13   15 months without a bond hearing, even though he is a long-time lawful permanent
  14   resident with strong family ties and a successful school and work history. He
  15   ultimately won relief from removal. See Dkt. 148; 158 (observing Farias was
  16   released after he won his case and DHS declined to appeal).
  17         The second legal regime concerns members of the Section 1225(b) subclass
  18   – most of whom are arrested at ports of entry coming into the United States, often
  19   because they seek asylum. They too receive no bond hearings notwithstanding
  20   prolonged detention. Unlike the 1226(c) class members, these individuals are
  21   eligible for release, but only based on the unfettered discretion of Department of
  22   Homeland Security officers. Should an officer decide to detain a 1225(b) subclass
  23   member, even for years, the government provides no in-person hearing of any kind
  24
       2
         Petitioners use “rigorous bond hearing” as shorthand for the hearings required
  25
       under existing Ninth Circuit law for those subject to prolonged detention. Under
  26   existing law, such hearings must take place before an Immigration Judge, must be
       recorded, and must place the burden of proof on the government by clear and
  27
       convincing evidence. See generally V. Singh v. Holder, 638 F.3d 1196, 1203, 1209
  28   (9th Cir. 2011).


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    1   to challenge that decision. See Ex. 45, excerpts of deposition transcript3 of Wesley
    2   Lee, 18:12-16, Jan. 12, 2012.4 Instead, agents render decisions simply by checking
    3   a box on a form that contains no specific explanation and reflects no individualized
    4   deliberation. See Ex. 45 at 106:18 – 107:23; see, e.g., Ex. 51 (parole decision for
    5   class member, Ex. 5 to deposition of Wesley Lee) (to be subsequently filed under
    6   seal pursuant to Stipulated Protective Order (Dkt. 227)). For example, Section
    7   1225(b) Subclass Member Mohamud Jama was denied parole as a danger and
    8   flight risk despite the fact that he had a very strong claim for asylum, no criminal
    9   history, and support within the United States. Nonetheless, ICE detained him until
  10    he won his case, at which point it released him after months of pointless detention.
  11          A.     Mandatory Detention Under Section 1226(c)
  12          For roughly half of the PI subclasses members – those subject to mandatory
  13    detention under Section 1226(c) – the government provides no opportunity for
  14    release even if such individuals could show that they present no danger or flight
  15    risk if given the chance at a hearing. Rather, individuals become subject to
  16    detention without the possibility of release based solely on an ICE officer’s review
  17    of their criminal history. If an ICE officer (not an attorney) determines that a non-
  18    citizen has been convicted of a triggering offense, the individual is classified as a
  19    mandatory detainee and told that they are ineligible for release on bond. See Ex.
  20    48, excerpts of deposition transcript of Eric Saldana, 37:12-20, Jan. 13, 2012.
  21
        3
  22      Because the deposition transcripts are extremely voluminous, Petitioners have
        submitted only the cited transcript pages. The whole transcripts can be made
  23
        available upon the Court’s request.
        4
  24      Wesley Lee, the Assistant Field Office Director of the Los Angeles Field Office
        was designated as the government’s 30(b)(6) to testify as the person most
  25
        knowledgeable concerning the parole and POCR processes, and release
  26    determinations and notice provided for Casas hearings and Joseph hearings. See
        Ex. 45 at 12:11-12; Ex. 46 (Amended 30(b)(6) deposition notice to Department of
  27
        Homeland Security); Ex. 47 (email dated January 11, 2012 from Theodore
  28    Atkinson to Michael Kaufman)


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    1   Triggering convictions include nearly all controlled substance offenses, see 8
    2   U.S.C. 1182(a)(2)(C), all crimes involving moral turpitude, see 8 U.S.C.
    3   1182(a)(2)(A)(i)(I), and all aggravated felonies, see 8 U.S.C. 1227(a)(2)(A)(iii).5
    4   See 8 U.S.C. 1226(c)(1).6
    5         Under agency regulations and BIA caselaw, a detainee subject to mandatory
    6   detention has the right to ask the Immigration Judge to reconsider his or her
    7   classification as a mandatory detainee. See 8 C.F.R. § 1003.19(h)(2)(ii) (providing
    8   for Immigration Judge hearing over whether detainee is “properly included” under
    9   the detention statute); Matter of Joseph, 22 I. & N. Dec. 799 (BIA 1999); see also
  10    Demore v. Kim, 538 U.S. 510, 514 n.3 (2003) (describing “Joseph” hearings).
  11          However, detainees are not informed of their right to seek a Joseph hearing,
  12    see Ex. 45 at 207:19 - 208:6. In fact, the form provided to such detainees
  13    specifically states that there is no opportunity to challenge ICE’s mandatory
  14    detention determination. See Ex. 45 at 208:18-209:4 (if [ICE] determines a
  15    detainee is subject to mandatory detention under 236(c), the Notice of Custody
  16    Determination form specifically “says [a detainee] cannot have a bond hearing.”)
  17    (emphasis added)); see also Ex. 45 at 243:16-22.
  18          Even if a detainee manages to learn about the existence of this right, the
  19    deck is still heavily stacked against the detainee who claims that he is not subject
  20    to mandatory detention. To obtain a bond hearing, the detainee must show the
  21    Immigration Judge that the government is “substantially unlikely to prevail” on its
  22    claim regarding the classification of the conviction as one triggering mandatory
  23
        5
  24      Despite its terminology, an “aggravated felony” need not be “aggravated” or a
        “felony” and includes many relatively minor convictions. See Richard A. Boswell,
  25
        Essentials of Immigration Law 49 (2006).
        6
  26      If the ICE officer is unsure about how to classify the detainee’s criminal history,
        he or she may consult with one of the attorneys employed by ICE – the same
  27
        attorneys who prosecute immigration cases for DHS – and base the decision to
  28    detain on the ICE attorney’s opinion. See Ex.48 at 52:10 – 53:16.


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    1   detention. Joseph, 22 I. & N. Dec. at 799. As one Ninth Circuit judge has
    2   observed, this burden is “all but insurmountable.” Tijani v. Willis, 430 F.3d 1241,
    3   1246 (9th Cir. 2005) (Tashima, J., concurring). See also Matter of Carlos Alberto
    4   Flores-Lopez, 2008 WL 762690 (BIA Mar 05, 2008) (finding for DHS in Joseph
    5   challenge despite unpublished decision from governing Circuit Court finding
    6   conviction was not a removable offense); Julie Dona, Making Sense of
    7   “Substantially Unlikely”: An Empirical Analysis of the Joseph Standard in
    8   Mandatory Detention Custody Hearings 5 (June 1, 2011) (forthcoming in
    9   Georgetown Immigration Law Journal), available at http://
  10    ssrn.com/abstract=1856758 (reviewing Joseph decisions reported on Westlaw
  11    between November 2006 through October 2010 and finding that the BIA construes
  12    the ‘substantially unlikely’ standard “to require that nearly all legal and evidentiary
  13    uncertainties be resolved in favor of the DHS”).
  14           In essence, the Board has interpreted the Joseph standard to permit the
  15    detainee to escape mandatory detention only if the government’s argument
  16    concerning the triggering conviction is frivolous. That a detainee presents no
  17    danger or flight risk, or, relatedly, that the detainee will likely win relief from
  18    removal, provides no reason to refrain from imposing mandatory detention. See
  19    Ex. 49, excerpts of deposition transcript of Chief Immigration Judge Ivan Fong,
  20    88:23-89:21, Feb. 28, 2012 (explaining his “understanding” that a detainee’s
  21    eligibility for relief “would not be a basis” for finding him or her subject to
  22    mandatory detention). These factors remain irrelevant regardless of the length of
  23    detention. Ex. 49 at 46:6-9. Indeed, even if a detainee wins before the Immigration
  24    Judge and remains detained only because the government has appealed, the
  25    mandatory detention regime continues to apply. See Joseph, 22 I. & N. Dec. at
  26    801.
  27           B.    Detention Without Bond Hearings under Section 1225(b)
  28           The other subclass of detainees who still receive no bond hearings under the


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    1   government’s interpretation of the immigration detention statutes are those who are
    2   apprehended at a port of entry – typically a border crossing or international airport
    3   – and detained under Section 1225(b) as “arriving aliens” who are “seeking
    4   admission.” See 8 C.F.R. § 1.2 (defining term “arriving alien”). As the
    5   government interprets Section 1225(b) and 8 C.F.R. § 1003.19(h)(2)(i)(B), non-
    6   citizens arrested at a port of entry may be released only by ICE officials, without
    7   any possibility for review by an Immigration Judge. See Ex. 45 at 18:12-16;
    8   118:23-119:9.
    9         Importantly, this rule applies even to arriving non-citizens who have
  10    previously resided in the United States. Thus, even long-time lawful permanent
  11    residents returning from brief trips abroad are ineligible for bond hearings if, for
  12    example, they have been convicted of crimes involving moral turpitude (a very
  13    broad category of offenses) at any point in their past. See 8 U.S.C. §
  14    1101(a)(13)(C); Nadarajah v. Gonzales, 443 F.3d 1069, 1077 (9th Cir. 2006)
  15    (recognizing that lawfully-admitted non-citizens are detained under Section
  16    1225(b)); Camins v. Gonzales, 500 F.3d 872, 875 (9th Cir. 2007) (petition for
  17    review filed by returning lawful permanent resident who was treated as an “alien
  18    seeking admission”).
  19          The Section 1225(b) subclass also includes a large number of asylum
  20    seekers who have fled their home countries because of persecution, have no
  21    criminal history of any kind in the United States, and will ultimately win the right
  22    to reside here under the asylum laws. Under the government’s view, they too have
  23    no right to a bond hearing before an Immigration Judge. Instead, the government
  24    leaves the decision to detain members of the Section 1225(b) subclass, even for
  25    prolonged periods, entirely in the hands of their jailers. The government reads the
  26    immigration statutes to permit the release of such individuals only if they qualify
  27    for “parole” under 8 U.S.C. § 1182(d)(5)(A), which permits discretionary release
  28    where doing so satisfies an “urgent humanitarian reason” or creates a “significant


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    1   public benefit.” DHS officers decide whom to parole based only on a review of
    2   the detainee’s file and, occasionally, an informal discretionary interview; they
    3   provide no hearing before an Immigration Judge to determine whether detention is
    4   warranted. Nor is there an appeal of any kind from parole denials. See Ex.45 at
    5   97:15 – 98:15; 18:12-16. Indeed, according to the government, the officer who
    6   decides to detain someone pursuant to this ‘process’ need only check a box on a
    7   form; the decision to detain such individuals for months or years can be made with
    8   no further explanation. See Ex.45 at 106:18-107:23.
    9   III.   ARGUMENT
  10           To obtain a preliminary injunction, Petitioners must demonstrate that (1)
  11    they are likely to succeed on the merits, (2) they are likely to suffer irreparable
  12    harm in the absence of preliminary relief, (3) the balance of equities tips in their
  13    favor, and (4) an injunction is in the public interest. Winter v. NRDC, Inc., 129 S.
  14    Ct. 365, 374 (2008). Where the balance of hardships tips sharply in Plaintiffs’
  15    favor, the Court should issue the injunction as long as Plaintiffs raise “serious
  16    questions” on the merits. Alliance for the Wild Rockies v. Cottrell, 622 F.3d 1045,
  17    1052 (9th Cir. 2010) (“A preliminary injunction is appropriate when a plaintiff
  18    demonstrates . . . that serious questions going to the merits were raised and the
  19    balance of hardships tips sharply in the plaintiff’s favor” and meets the other
  20    Winter factors). Here, Petitioners easily satisfy these standards.
  21
               A.    Petitioners are Substantially Likely to Prevail on Their Claim that
  22                 the Immigration Detention Statutes Must be Construed to
                     Require Rigorous Bond Hearings for the PI Subclasses Members
  23
                     1.        All Applicable Immigration Detention Statutes Must Be
  24                           Construed to Require Rigorous Bond Hearings for
                               Detention Beyond Six Months
  25
                          i.        Prolonged Detention Without Rigorous Bond
  26                                Hearings is Unconstitutional
  27           The Ninth Circuit has repeatedly and unequivocally held that prolonged
  28    immigration detention without a bond hearing raises serious constitutional


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    1   concerns. See Casas-Castrillon v. DHS, 535 F.3d 942, 951 (9th Cir. 2008)
    2   (holding that “prolonged detention of an alien without an individualized
    3   determination of his dangerousness or flight risk would be ‘constitutionally
    4   doubtful,’” and therefore construing detention statute “as requiring the Attorney
    5   General to provide the alien with such a hearing”) (citing Tijani v. Willis, 430 F.3d
    6   1241, 1242 (9th Cir. 2005)) (emphasis in original)); V. Singh v. Holder, 638 F.3d
    7   1196, 1203 (9th Cir. 2011) (holding that government must bear burden of proof by
    8   clear and convincing evidence at Casas hearing); Diouf v. Napolitano, 634 F.3d
    9   1081, 1086 (9th Cir. 2011) (holding that “prolonged detention under § 1231(a)(6),
  10    without adequate procedural protections, would raise ‘serious constitutional
  11    concerns,’” and therefore construing statute as “requiring an individualized bond
  12    hearing, before an immigration judge, for aliens facing prolonged detention under
  13    that provision.”).
  14          The holdings of Tijani, Casas, V. Singh, and Diouf rest on bedrock
  15    constitutional principles that are applicable to any detention scheme in which the
  16    government detains people for lengthy periods. Because “freedom from
  17    imprisonment . . . lies at the heart of the liberty that [the Due Process] Clause
  18    protects,” Zadvydas v. Davis, 533 U.S. 678, 690 (2001), “even where detention is
  19    permissible . . . due process requires ‘adequate procedural protections’ to ensure
  20    that the government’s asserted justification for physical confinement ‘outweighs
  21    the individual’s constitutionally protected interest in avoiding physical restraint.’”
  22    Casas, 535 F.3d at 950 (quoting Zadvydas, 533 U.S. at 690).
  23          That fundamental principle applies equally to the PI Subclasses members,
  24    just as it did to the petitioners in Tijani, Casas, V. Singh, and Diouf. Indeed,
  25    nowhere in our legal system does the law permit detention of the lengths at issue
  26    here without an in-person hearing where the government bears the burden of proof.
  27    Pre-trial detainees, people who are dangerous due to mental illness, and even child
  28    sexual predators all receive far greater procedural protections in regard to their


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    1   detention than do Sections 1226(c) and 1225(b) subclass members under the
    2   government’s system. See United States v. Salerno, 481 U.S. 739, 750-52 (1987)
    3   (upholding a federal bail statute permitting pretrial detention in part because the
    4   statute required strict procedural protections for detention, including prompt
    5   hearings before a judicial officer where the government bore the burden of proving
    6   dangerousness by clear and convincing evidence); Foucha v. Louisiana, 504 U.S.
    7   71, 81-83 (1992) (striking down a civil insanity detention statute because it placed
    8   the burden on the detainee to prove eligibility for release); Kansas v. Hendricks,
    9   521 U.S. 346 353, 368 (1997) (upholding involuntary civil commitment for certain
  10    sex offenders, but requiring “strict procedural safeguards” including a right to a
  11    jury trial and proof beyond a reasonable doubt).
  12          Even in situations where far lesser interests are at stake, the Supreme Court
  13    has held that due process requires in-person hearings. The government may not
  14    terminate welfare benefits or public utilities, or even recover excess Social
  15    Security benefits, without providing an in-person hearing. See, e.g., Goldberg v.
  16    Kelly, 397 U.S. 254, 268 (1970) (government’s failure to provide an in-person
  17    hearing prior to termination of welfare benefits was “fatal to the constitutional
  18    adequacy of the procedures”); Memphis Light, Gas and Water Division v. Craft,
  19    436 U.S. 1, 16 (1978) (due process requires, at minimum, an opportunity for utility
  20    clients to argue their cases prior to termination of service); Califano v. Yamasaki,
  21    442 U.S. 682, 696 (1979) (in-person hearing required for recovery of excess Social
  22    Security payments where beneficiary was at fault because “written review hardly
  23    seems sufficient to discharge the Secretary’s statutory duty to . . . assess the
  24    absence of ‘fault’”). It follows from these cases that the Due Process Clause
  25    requires the government to provide a rigorous in-person hearing to justify the
  26    prolonged incarceration of people who may present no danger or flight risk,
  27    especially when some of them will ultimately win their immigration cases and be
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    1   allowed to remain in the United States.7
    2         Given the serious due process concerns presented by prolonged detention
    3   without individualized hearings, this Court must construe the immigration
    4   detention statutes so as to avoid those serious constitutional problems, so long as
    5   such a construction is fairly possible. As the Supreme Court explained in Clark,
    6   the canon of constitutional avoidance “is not a method of adjudicating
    7   constitutional questions” but rather one of statutory interpretation – “a tool for
    8   choosing between competing plausible interpretations of a statutory text, resting on
    9   the reasonable presumption that Congress did not intend the alternative which
  10    raises serious constitutional doubts.” Clark v. Martinez, 543 U.S. 371, 381 (2005).
  11    Under the canon, a court must reject any interpretation of a statute that raises
  12    serious constitutional problems so long as an alternative construction is “fairly
  13    possible.” Nadarajah, 443 F.3d at 1076. Because it follows from Tijani,
  14    Nadarajah, Casas, V. Singh, and Diouf that the prolonged detention without
  15    hearings of the PI Subclasses members raises serious constitutional problems,
  16    those statutes can and should be construed to require rigorous bond hearings for
  17    people subject to prolonged detention , i.e., hearings where the government bears
  18    the burden of justifying their continued imprisonment.
  19                      ii.     Detention Becomes Prolonged at Six Months
  20          While it has been well-established for years in the Ninth Circuit that
  21
        7
  22      The justification for an in-person hearing in the prolonged detention context is
        particularly strong given that the hearing may well call for determinations
  23
        concerning a non-citizen’s credibility, as it relates to his or her willingness to
  24    appear for removal should the government ultimately prevail in the immigration
        case. See, e.g., Califano, 442 U.S. at 697 (paper review failed to satisfy due
  25
        process because determination at issue “usually requires an assessment of the
  26    recipient’s credibility”). Cf. 18 U.S.C. § 3142(g)(3)(A) (treating “character” of
        defendant as relevant criteria in assessing bail eligibility); Manimbao v. Ashcroft,
  27
        329 F.3d 655, 661 (9th Cir. 2003) (holding, in the asylum context, that
  28    immigration judges are in a “superior position” to assess credibility).


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    1   “prolonged” immigration detention without a bond hearing raises serious
    2   constitutional concerns, the Ninth Circuit has now definitively resolved any dispute
    3   as to when detention becomes prolonged. In Diouf, the court held that an
    4   immigration custody determination system that does not provide for rigorous bond
    5   hearings at six months “raise[es] serious constitutional concerns.” 634 F.3d at
    6   1091. Diouf therefore construed Section 1231(a)(6) – the detention statute that
    7   governs for a different subclass of the detainees in this case – to require rigorous
    8   bond hearings at six months. Id. at 1091-92.
    9         While Diouf did not involve a detainee held under Section 1226(c), the
  10    Court relied heavily on the time periods described in Demore and Casas, both of
  11    which did involve Section 1226(c). Id. at 1091 (noting that Demore “upheld a six
  12    month detention with the specific understanding that § 1226(c) authorized
  13    mandatory detention only for the ‘limited period of [the detainee’s] removal
  14    proceedings,’ which the Court estimated ‘lasts roughly a month and a half in the
  15    vast majority of cases in which it is invoked, and about five months in the minority
  16    of cases in which the alien chooses to appeal’ his removal order to the BIA”)
  17    (citing Casas); see also Nadarajah, 443 F.3d at 1079-80 (holding that all the
  18    “general detention statutes” only authorize detention pending completion of
  19    removal proceedings for a “brief and reasonable” period, and concluding that such
  20    a period is presumptively six months, based on Zadvdyas, Clark, and Demore, as
  21    well as Congress’ express authorization of detention beyond six months in the
  22    national security detention statutes).
  23          Thus, clear Ninth Circuit authority establishes that detention becomes
  24    “prolonged” at six months, such that the more rigorous procedural protections
  25    afforded by a bond hearing where the government bears the burden of proof must
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    1   be provided to continue detention beyond that point.8
    2         B.     The Court Should Construe Section 1226(c) to Avoid the
                     Constitutional Problem Raised by Prolonged Mandatory
    3                Detention
    4         Section 1226(c) should be construed to avoid the same constitutional
    5   problems recognized in Casas, Tijani, V. Singh, and Diouf. While not every
    6   detainee held under Section 1226(c) has precisely the same immigration status, the
    7   government’s misapplication of the statute plainly results in the detention of
    8   lawfully-admitted individuals, including long-time lawful permanent residents like
    9   Named Plaintiffs Rodriguez and Farias Cornejo. See, e.g., Dkt. 101 Ex. 22
  10    [Rodriguez Decl. ¶ 3]; Dkt. 101 Ex. 24 [Farias Cornejo Decl. ¶ 4]. Therefore, it
  11    undoubtedly raises the same serious constitutional problems that the Ninth Circuit
  12    has repeatedly recognized in similar contexts.
  13            As in those cases, this Court must adopt any “fairly possible” construction
  14    of Section 1226(c) that reads it to govern only in cases involving brief (i.e., non-
  15    prolonged) detention. The Court can accomplish this by simply applying the
  16    construction already adopted in Casas, which held that Section 1226(c) only
  17    applies in cases of “expeditious” proceedings, Casas, 535 F.3d at 951, and that in
  18    cases of prolonged detention the government’s authority “shifts” to Section
  19    1226(a), which in turn must be construed to “require” a bond hearing in such cases.
  20    Casas, 535 F. 3d at 951. Importantly, the court adopted that construction not only
  21    for people whose removal cases were pending before the Ninth Circuit on petition
  22    for review, but also for those whose cases had been remanded, and were once
  23    again before the immigration courts. Id. at 948. Such a construction follows
  24    logically from the fact that Section 1226(c), unlike the immigration detention
  25
        8
  26     Indeed, the court in Diouf urged the government to “afford an alien a hearing
        before an immigration judge before the [six-month mark] if it is practical to do so
  27
        and it has already become clear that the alien is facing [future] prolonged
  28    detention.” Diouf, 634 F.3d at 1092 n.13 (emphasis added).


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    1   statutes involving national security, is silent with respect to the procedures required
    2   when detention is prolonged. Compare 8 U.S.C. § 1226a and 8 U.S.C. §§ 1531-
    3   1537 (legislation specifically authorizing detention for longer than six months
    4   without a hearing in a narrow set of cases implicating national security). The
    5   Supreme Court has previously found that silence is not a basis for assuming that
    6   Congress intended to authorize unlimited detention. Zadvydas, 533 U.S. at 698-99;
    7   cf. Nadarajah, 433 F.3d at 1076 (“Congress cannot authorize indefinite detention
    8   in the absence of a clear statement”). That same rationale requires a limiting
    9   construction of Section 1226(c) here.
  10          Indeed, the Section 1226(c) subclass members have a stronger claim for a
  11    bond hearing than did the petitioners in Tijani, Casas, and V. Singh, because,
  12    unlike the petitioners in those cases, they have not lost their immigration cases at
  13    the administrative level, but rather are still challenging their removal before the
  14    immigration courts. Thus, none of them have a final order of removal, and in fact
  15    many of them never will – they will defeat the charges against them or win relief
  16    from removal and retain their immigration status. There is no reason to deny them
  17    even the opportunity to show that they should be released when the law already
  18    affords that opportunity to people in a weaker position, who have already lost
  19    before the immigration courts.
  20          Another district judge in this Court recently adopted these arguments in a set
  21    of preliminary injunctions involving individuals with serious mental disabilities
  22    subject to prolonged detention under Section 1226(c). Although the Plaintiffs in
  23    that case (represented by counsel undersigned) face unique circumstances due to
  24    their mental disabilities, the Court’s reasoning with respect to their right to a bond
  25    hearing was not premised on that fact, but instead involved a straightforward
  26    application of the same generally-applicable Ninth Circuit cases on which
  27    Petitioners here rely. See Franco-Gonzales v. Holder, 767 F.Supp.2d 1034, 1060
  28    (C.D. Cal. 2010); Franco-Gonzales v. Holder, 828 F.Supp.2d 1133 (C.D. Cal.


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    1   2011); Franco-Gonzales v. Holder, 2011 WL 5966657, *5 (C.D.Cal. Aug 2, 2011).
    2          Finally, because most 1226(c) subclass members are pursuing substantial
    3   challenges to removal, even if this Court declined to construe Section 1226(c) to
    4   require a bond hearing at six months, it should still grant relief from prolonged
    5   mandatory detention to these subclass members by construing 1226(c) as requiring
    6   mandatory detention only where the government shows that a detainee lacks a
    7   substantial challenge to removal. See Dkt. 111 at 32 (Prayer For Relief)
    8   (requesting any other appropriate relief); Cf. Idema v. Dreamworks, Inc., 162
    9   F.Supp.2d 1129, 1142 (C.D. Cal. 2001) (“It need not appear that [a] plaintiff can
  10    obtain the specific relief demanded as long as the court can ascertain from the face
  11    of the complaint that some relief can be granted.”) (internal citation and quotation
  12    marks omitted).
  13          Section 1226(c) requires the mandatory detention of noncitizens who are
  14    “deportable” or “inadmissible” under the designated criminal grounds. 8 U.S.C. §
  15    1226(c). In Demore, the Supreme Court upheld the constitutionality of mandatory
  16    detention where the detainee had conceded both that he was deportable and that he
  17    was properly subject to mandatory detention under the statute. Demore, 538 U.S.
  18    at 513-14.9 As a result, the Court had no occasion to address the permissibility of
  19    applying mandatory detention to a noncitizen with a substantial challenge to
  20    removal—that is, a substantial challenge to the removability charge, or a
  21    substantial claim to relief that would allow them to retain or obtain lawful
  22    permanent resident status. See Demore, 538 U.S. at 514 n.3 (declining to address
  23    the BIA’s standard for applying mandatory detention in Matter of Joseph, 22 I&N
  24    Dec. 799 (BIA 1999)); see also Gonzalez v. O’Connell, 355 F.3d 1010, 1020-21
  25    9
          The only relief for which he was applying was withholding of removal, which
  26    merely protects someone from removal to a country where they would face
        persecution, without providing any of the rights that accompany lawful permanent
  27
        residence. A person who is granted withholding of removal remains under a final
  28    removal order; the order’s execution has merely been withheld.


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    1   (7th Cir. 2004) (noting that this “important issue” was left open in Demore). In
    2   light of such detainees’ heightened liberty interests, their prolonged mandatory
    3   detention raises particularly serious constitutional problems. Demore, 538 U.S. at
    4   577 (Breyer, J., dissenting); see also Krolak v. Ashcroft, No. 04-C-6071 (N.D. Ill.
    5   Dec. 1, 2004) (holding mandatory detention unconstitutional where individual had
    6   “colorable” challenge to removal).
    7         Thus, should this Court decline to adopt the six month rule Petitioners
    8   advocate, it should still construe Section 1226(c) to apply only where the
    9   government shows that a detainee lacks a colorable challenge to his removability,
  10    both because of the constitutional problems with prolonged mandatory detention
  11    and because of the absence of any evidence that Congress intended to impose it in
  12    cases where detainees had substantial challenges to removal. See also Demore, 538
  13    U.S. at 578 (Breyer, J., dissenting) (advocating “substantial question” standard,
  14    which was never rejected by majority, in part because “the relevant statutes
  15    literally say nothing about an individual who, armed with a strong argument
  16    against deportability, might, or might not, fall within their terms”); accord Tijani v.
  17    Willis, 430 F.3d 1241, 1246 (9th Cir. 2005) (Tashima, J., concurring) (same, in
  18    light of “egregiously” unconstitutional Joseph standard).
  19
              C.     The Court Should Construe Section 1225(b) to Authorize
  20                 Rigorous Bond Hearings at Six Months
  21          For largely the same reasons applicable to the Section 1226(c) subclass, the
  22    detention of Section 1225(b) subclass members without affording them rigorous
  23    bond hearings also presents serious constitutional problems. As described above,
  24    see supra Section I.B., Section 1225(b) class members also receive no hearing
  25    before an Immigration Judge with respect to their detention, regardless of its
  26    length. Instead, the government interprets Section 1225(b) to authorize release
  27    only pursuant to the parole determination procedures set forth in Section
  28    1182(d)(5)(A) – procedures that do not permit an Immigration Judge to conduct a


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    1   hearing to determine whether the class members’ detention is warranted. Notably,
    2   parole determinations are made by the same ICE officials who are in charge of
    3   ensuring the detainees’ removal. Unsurprisingly, that legal regime presents serious
    4   constitutional problems, for several reasons.
    5         First, the government’s detention scheme for Section 1225(b) class members
    6   is plainly unlawful under two closely related Ninth Circuit cases. First, in
    7   Nadarajah, the Ninth Circuit held that Section 1225(b) must be construed in light
    8   of the fact that it applies not only to asylum seekers and other first-time entrants,
    9   but also to returning lawful permanent residents and other lawfully-admitted non-
  10    citizens, whose prolonged detention indisputably raises serious due process
  11    problems. 443 F.3d. at 1077. Such individuals are subject to prolonged detention
  12    under Section 1225(b) because they can be treated as “arriving aliens.” Id.; see
  13    also Camins v. Gonzales, 500 F.3d 872, 875 (9th Cir. 2007) (petition for review
  14    filed by returning lawful permanent resident who was treated as arriving alien).
  15    Thus, the statute must be construed to avoid those problems – regardless of
  16    whether it would raise the same constitutional problems with respect to “arriving
  17    aliens” who are first time entrants. 10 In reaching this conclusion Nadarajah relied
  18    heavily on the Supreme Court’s decision in Clark v. Martinez, which had already
  19
        10
  20       Petitioners do not concede that government can subject any noncitizen to
        prolonged detention without triggering serious due process concerns, including
  21
        “arriving aliens” who are first time entrants. See Dkt 149 at 28 (citing, inter alia,
  22    Kwai Fun Wong v. United States, 373 F.3d 952, 971 (9th Cir. 2004) (holding that
        “excludable” aliens retain Fifth Amendment rights)); Dkt. 155 at 2 (order denying
  23
        Respondents’ Rule 12(c) motion) (holding that “the Entry Fiction Doctrine does
  24    not preclude Plaintiff from bringing procedural due process claims under 8 U.S.C.
        § 1225(b), regardless of the sub-class’s immigration status”). However, the Court
  25
        need not reach the question given Nadarajah’s recognition that the government
  26    also detains lawful permanent residents under Section 1225. The Supreme Court
        held over thirty years ago that returning lawful permanent residents were entitled
  27
        to due process, and the statute must therefore be construed with such individuals in
  28    mind. Landon v. Plasencia, 459 U.S. 21, 32-33 (1982).


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    1   construed Section 1225 (albeit in a slightly different context) to avoid
    2   constitutional problems arising from its applicability to lawfully-admitted non-
    3   citizens. See Clark, 543 U.S. at 378 (“The operative language of [§ 1225] applies
    4   without differentiation to all . . . categories of aliens that are its subject.”).
    5          Second, as explained in detail above, the Ninth Circuit has already held that
    6   the immigration detention statutes must be construed to provide rigorous bond
    7   hearings for lawfully-admitted non-citizens subject to prolonged detention. See,
    8   e.g., Casas, 535 F.3d at 950; Diouf, 634 F.3d at 1088-89. It follows that this Court
    9   must construe Section 1225(b) to authorize the same protections found necessary
  10    in Casas and Diouf, so long as the statute can reasonably construed in such a
  11    manner.
  12           While the “parole determination” procedures implemented by the
  13    government under Section 1225(b) are better than the procedures under Section
  14    1226(c) – which prohibit release entirely – they fall far short of constitutional
  15    requirements and therefore cannot save the government’s interpretation of the
  16    statute. The mere possibility of discretionary release by ICE officials is plainly
  17    insufficient to eliminate the serious constitutional problems presented by prolonged
  18    detention under existing Ninth Circuit law. The petitioners in both Casas and
  19    Diouf had some possibility for release during at least a portion of their detention
  20    under the post-order custody review process (which constituted the only release
  21    procedures available to Section 1231 subclass members prior to Diouf). Just like
  22    the parole process, the post-order custody review is simply a form filled out by a
  23    DHS bureaucrat. The Ninth Circuit found that procedure insufficient in the face of
  24    prolonged detention. See Casas, 535 F.3d at 951-52 (holding post-order custody
  25    review procedure insufficient because it provided for no in-person hearing before a
  26    neutral decisionmaker, allowed no administrative appeal, and placed the burden of
  27    proof on the detainee); Diouf, 634 F.3d at 1091 (same).
  28           All of the same deficiencies exist with respect to the parole process. In


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    1   contrast to the procedure required by the Due Process Clause – an in-person
    2   hearing before an Immigration Judge where the government bears the burden of
    3   proof, by clear and convincing evidence, to show that the detainee presents a
    4   danger or flight risk, see V. Singh, 638 F.3d at 1203, the parole process provides
    5   only an unappealable paper review by an ICE official (with an occasional
    6   interview if a DHS officer feels so inclined),where the detainee bears the burden to
    7   show that his release is in the public’s interest or necessitated by urgent
    8   humanitarian reasons. See 8 U.S.C. § 1182(d)(5)(A); see also 8 CFR § 212.5.
    9         Testimony from the government’s 30(b)(6) witness confirms that the
  10    structural defects in the parole process have practical consequences. As Assistant
  11    Field Office Director Lee candidly admitted, “the custody decision” has always
  12    “really just been about how much bed space [ICE has].” See Ex. 45at 40:17-19.
  13    Unsurprisingly, the Ninth Circuit has already recognized that a review system that
  14    leaves an individual’s liberty to the unreviewable decisions of such officers fails to
  15    adequately protect against the risk of unnecessary and unwarranted prolonged
  16    detention, and therefore cannot satisfy minimal due process standards. See Casas,
  17    535 F.3d at 951-52; Diouf, 634 F.3d at 1091.
  18          Given the serious constitutional problems described above, this Court should
  19    construe Section 1225(b) to authorize rigorous bond hearings before Immigration
  20    Judges, because such a construction is “fairly possible.” Nadarajah, 443 F.3d at
  21    1076. It can do so in one of two ways. First, it could construe Section 1225(b)
  22    itself to require rigorous bond hearings. The Ninth Circuit adopted that approach
  23    in Diouf with respect to Section 1231(a)(6). 634 F.3d at 1092. Alternatively, it
  24    could construe Section 1225(b) to not apply to cases involving prolonged
  25    detention, such that detention “shifts” to Section 1226(a) in such cases. The Ninth
  26    Circuit used that approach in Casas with respect to Section 1226(c). 535 F.3d at
  27    951. Both constructions are “fairly possible,” allowing the Court to easily construe
  28    Section 1225(b) to authorize the rigorous bond hearings that due process demands.


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    1         With respect to the first approach, the BIA has already interpreted Section
    2   1225(b) to allow bond hearings for noncitizens who were arrested and placed in
    3   removal proceedings after their entry. Matter of X-K, 23 I&N Dec. 731, 731-32,
    4   734-35 (BIA 2005). Although the BIA also noted that the implementing
    5   regulations for Section 1225(b) prohibited IJ bond hearings for “arriving aliens”,
    6   see id. at 735 (citing 8 C.F.R. §§ 1003.19(h)(2)(i)(B), 1235.3(c)), it made clear that
    7   the statute in no way forecloses bond hearings before an Immigration Judge. X-K,
    8   23 I&N Dec. at 734.
    9         To the extent that the regulations preclude such review, this Court should
  10    hold them inapplicable to cases involving prolonged detention, just as Casas
  11    construed Section 1226(a) to authorize bond hearings due to the serious
  12    constitutional problems posed by prolonged detention, notwithstanding a
  13    regulation prohibiting bond hearings for people with administratively final removal
  14    orders. See 8 C.F.R. § 1003.19. Similarly, here the Court should construe Section
  15    1225(b) to authorize bond hearings to avoid significant constitutional problems.
  16    To the extent that the regulations do bar Immigration Judge review, they are ultra
  17    vires and therefore not dispositive. See Kwong Hai Chew v. Colding, 344 U.S.
  18    590, 599 (1953) (construing regulation to avoid constitutional problems).
  19          Alternatively, if the Court concludes that Section 1225(b) cannot be
  20    construed to authorize bond hearings, the Court should find that it simply does not
  21    apply to cases involving prolonged detention – as the Ninth Circuit found with
  22    respect to Section 1226(c) in Casas and Tijani – and therefore that authority for
  23    prolonged detention “shifts” to Section 1226(a), under which the detainees are
  24    indisputably eligible for bond hearings. See 8 U.S.C. § 1226(a) (authorizing
  25    detention “pending a decision” on removal). Given that Section 1225(b), like
  26    Section 1226(c), makes no explicit reference to prolonged detention, its text can
  27    easily be read simply not to apply in such cases. Accordingly, the Court should
  28    construe Section 1225(b) so as to require bond hearings for subclass members.


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    1         Two recent district court decisions from the Southern District of California
    2   have adopted the arguments presented here. See Centeno-Ortiz v. Culley, 2012
    3   WL 170123, *9 (S.D.Cal. Jan. 19, 2012) (requiring that “the Government shall
    4   provide Petitioner [an “arriving alien”] with an individualized bond hearing before
    5   an immigration judge, where the Government will have the burden of establishing
    6   that Petitioner should not be released because he is either a flight risk or will be a
    7   danger to the community.”) ; Crespo v. Baker, 2012 WL 1132961, * 9 (S.D.Cal.
    8   Apr. 3, 2012) (same).11
    9
        IV.   PETITIONERS WILL CONTINUE TO SUFFER IRREPARABLE
  10          HARM AS A RESULT OF THEIR PROLONGED DETENTION, AND
              THE BALANCE OF HARDSHIPS TIPS SHARPLY IN THEIR
  11          FAVOR
  12          Petitioners suffer irreparable harm as their unlawful detention continues, and
  13    the balance of hardships tips sharply in their favor.
  14          The Ninth Circuit has made clear that “[a]n alleged constitutional
  15    infringement will often alone constitute irreparable harm.” Goldie’s Bookstore,
  16    Inc. v. Superior Court of the State of Calif., 739 F.2d 466, 472 (9th Cir. 1984);
  17    Associated General Contractors of Calif., Inc. v. Coalition for Economic Equity,
  18
        11
          International law further requires that this Court construe the statute to require
  19
        bond hearings for subclass members. Arbitrary detention is expressly prohibited
  20    under international law. See Universal Declaration of Human Rights, G.A. Res.
        217A (III), U.N. Doc. A/810, Article 9 (3d sess. 1948); International Covenant on
  21
        Civil and Political Rights (“ICCPR”) art. 9(1), 999 U.N.T.S. 171. Article 9(4) of
  22    the ICCPR specifically provides that all detainees are entitled “to take proceedings
        before a court” on the lawfulness of detention, and international law extends
  23
        similar protections to refugees and asylum seekers in particular. See, e.g.,
  24    UNHCR’s Revised Guidelines on Applicable Criteria and Standards Relating to
        the Detention of Asylum-Seekers, Guideline 5 (February 1999). The Supreme
  25
        Court has long held that “an act of Congress ought never to be construed to violate
  26    the law of nations if any other possible construction remains.” Murray v. The
        Schooner Charming Betsy, 6 U.S. (2 Cranch) 64, 118 (1804); accord Ma v.
  27
        Ashcroft, 257 F.3d 1095, 1114 n.30, 1115 (9th Cir. 2001). Thus, this Court should
  28    construe the statute to require bond hearings for PI Subclass members.


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    1   950 F.2d 1401, 1412 (9th Cir. 1991) (recognizing presumption of irreparable harm
    2   when constitutional infringement alleged); see, e.g., Sammartano v. First Judicial
    3   District Court, 303 F.3d 959, 973 (9th Cir. 2002) (explaining that the existence of
    4   a colorable First Amendment claim is sufficient to establish irreparable harm under
    5   Ninth Circuit precedent); S.O.C. Inc. v. County of Clark, 152 F.3d 1136,1148 (9th
    6   Cir. 1998) (same); see also Federal Practice & Procedure, § 2948.1 (2d ed. 1995)
    7   (“When an alleged deprivation of a constitutional right is involved, most courts
    8   hold that no further showing of irreparable injury is necessary.”). Further, as the
    9   Eleventh Circuit has held, the “unnecessary deprivation of liberty clearly
  10    constitutes irreparable harm.” United States v. Bogle, 855 F.2d 707, 710-11 (11th
  11    Cir. 1998).
  12          The harm suffered by unlawful detention without adequate process is
  13    particularly severe for the class members seeking relief in this preliminary
  14    injunction. Although a comprehensive presentation of data and other information
  15    from the voluminous discovery concerning these individuals must await the
  16    conclusion of discovery, it is already readily evident that a number of individuals
  17    detained in these two subclasses have colorable defenses against removal,
  18    including in some cases clear eligibility for relief from removal. Both Mr.
  19    Rodriguez and Mr. Farias, for example, ultimately won their cases (after three
  20    years and 15 months, respectively) of detention without a hearing. Indeed, it is
  21    delay created by the need to litigate their claims for relief that often results in their
  22    lengthy detention; such that those with stronger immigration cases end up subject
  23    to more prolonged detention. See Ex. 49, 130:17-131:11 (stating, in context of
  24    data showing greater detention lengths for those who win relief from removal, that
  25    it is “not surprising” and that he “would expect nothing less” than for a case where
  26    a noncitizen is granted relief to take longer than a case where a detainee is ordered
  27    removed); Id.; Ex. 49 (Exhibits 5, 6, 7 to deposition of Judge Fong, containing data
  28    on detention length). Such unnecessary detention obviously constitutes irreparable


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    1   harm. Cf. Nat’l Ctr. for Immigrants Rights, Inc. v. INS, 743 F.2d 1365, 1369 (9th
    2   Cir. 1984) (“The hardship from being unable to work to support themselves and
    3   their dependents, to obtain release bonds, and to pay for legal representation is
    4   beyond question.”).
    5         In contrast to the harm suffered by Petitioner, the government will not suffer
    6   irreparable harm should the injunction be entered. As an initial matter, because the
    7   government’s detention of these class members is almost certainly illegal under
    8   controlling statutory and constitutional authority, it “cannot reasonably assert that
    9   it is harmed in any legally cognizable sense by being enjoined from [statutory and]
  10    constitutional violations.” Id. (holding that district court did not err in enjoining
  11    INS practices that probably violated plaintiffs’ constitutional rights).
  12          Nor can the government argue that relief would result in the release of
  13    individuals who present a serious danger or flight risk, because its own
  14    Immigration Judges will have authority to make the final determination as to
  15    whether any given individual may be released on bond. See Ex.50 (DHS
  16    Statement of New Legal Authority and Supplemental Brief at 7, In the Matter of
  17    Garcia-Arreola (BIA Feb. 10, 2010) (“Adopting this [narrower interpretation of
  18    section 1236(c)] would not undercut needed protections against dangerous
  19    individuals. A criminal alien not covered by mandatory detention can nevertheless
  20    be detained if the facts and circumstances show that he or she is a flight risk or
  21    danger to the community.”) . For those individuals ordered released, the
  22    government can utilize sophisticated alternatives to detention, including an
  23    “Intensive Supervision Appearance Program” (ISAP II), that ensures extremely
  24    high appearance rates. See Ex. 48 at 111:4-112:24 (DHS is “at, if not close to, [a]
  25    100 percent compliance rate” for noncitizens enrolled in the ISAP II program in
  26    San Bernadino, and at around a 90 percent compliance rate for those in the Los
  27    Angeles area). The government can thus ensure that those class members who
  28    obtain release on bond will appear in the event of removal, without subjecting


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    1   them to prolonged detention.
    2          Moreover, to the extent the government claims that providing bond hearings
    3   to Section 1226(c) and 1225(b) subclass members would be costly or an
    4   administrative burden, the government in fact stands to realize substantial financial
    5   savings from the release of individuals in this case. The average cost of detention
    6   per day, not including payroll costs, is $122. See Dep‘t of Homeland Security, U.S.
    7   Immigration and Customs Enforcement Salaries and Expenses, Fiscal Year 2012
    8   Congressional Budget Justification, p. 57, available at
    9   http://www.dhs.gov/xlibrary/assets/dhs-congressional-budget-justification-
  10    fy2012.pdf. In contrast, the cost of supervision is no greater than $14. See Dora
  11    Schriro, U.S. Dep’t of Homeland Sec., Immigration Detention Overview and
  12    Recommendations 10, 15 (2009); see also Anil Kalhan, Columbia Law Review,
  13    ―Rethinking Immigration Detention (July, 21, 2010), p. 55, available at
  14    http://www.columbialawreview.org/assets/sidebar/volume/110/42_Anil_Kalhan.
  15    pdf.
  16           Of course, even if the financial calculus were different, any harm to the
  17    government would pale in comparison to the irreparable harm that Petitioners
  18    continue to suffer. Cf. Alliance for Wild Rockies v. Cottrell, 622 F.3d 1045, 1055
  19    (9th Cir. 2010) (holding that the balance of hardships tipped sharply against
  20    government because its additional costs of “up to $70,000” were “so small that
  21    they cannot provide a significant counterweight to the harm caused” by logging in
  22    a forest); Golden Gate Rest. Ass’n v. City and County of San Francisco, 512 F.3d
  23    1112, 1126 (9th Cir. 2008) (“Faced with . . . a conflict between financial concerns
  24    and preventable human suffering, we have little difficulty concluding that the
  25    balance of hardships tips decidedly in favor of the latter.”) (internal quotation
  26    marks omitted). In any event, the government has stipulated that the cost of bond
  27    hearings cannot justify their denial, as a matter of due process. See Dkt. 165 at 4-
  28    5.


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    1   V.    AN INJUNCTION IS IN THE PUBLIC INTEREST
    2         Finally, the injunction sought here is in the public interest. The public has
    3   an interest in upholding constitutional rights. See Preminger v. Principi, 422 F.3d
    4   815, 826 (9th Cir. 2005) (“Generally, public interest concerns are implicated when
    5   a constitutional right has been violated, because all citizens have a stake in
    6   upholding the Constitution.”); Phelps-Roper v. Nixon, 545 F.3d 685, 690 (8th Cir.
    7   2008) (“[I]t is always in the public interest to protect constitutional rights.”).
    8         In addition, the public has an interest in accurate determinations in all legal
    9   proceedings, including in the decision of whether to detain individuals during their
  10    immigration cases, and in ensuring that the government only expends its resources
  11    to detain individuals where it is necessary to prevent danger or flight risk.
  12    VI.   CONCLUSION
  13          For the foregoing reasons, Petitioners respectfully request that the Court
  14    grant this preliminary injunction and order Respondents to provide bond hearings
  15    consistent with the requirements of Casas and subsequent Ninth Circuit authority
  16    interpreting that decision to all members of the Section 1226(c) and Section
  17    1225(b) subclasses. Specifically, Petitioners request that the Court order the
  18    government to provide such individuals with bond hearings before Immigration
  19    Judges with authority to grant them release on bond unless the government shows
  20    by clear and convincing evidence that those individuals present a danger or flight
  21    risk sufficient to warrant their continued detention.
  22                                             Respectfully submitted,
  23                                             ACLU OF SOUTHERN CALIFORNIA
  24    Dated: June 25, 2012                      /s Ahilan T. Arulanantham
                                                 AHILAN T. ARULANANTHAM
  25                                             Counsel for Petitoners
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